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                         UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TENNESSEE


  FUSION ELITE ALL STARS et al.,

                 Plaintiffs,
                                                          Civ. Action No. 2:20-cv-2600-tmp
         v.

  VARSITY BRANDS, LLC et al.,

                 Defendants.


                JOINT NOTICE OF SETTLEMENT AND MOTION TO STAY

        The Parties, including all Plaintiffs and all Defendants, hereby notify the Court that they

 have reached an agreement in principle to settle the claims of Plaintiffs and two proposed direct

 purchaser classes in this litigation. The Parties are drafting a formal settlement agreement and

 anticipate that Plaintiffs will present a motion for preliminary approval of the settlement, for

 certification of the classes in light of settlement, and for a plan to provide class notice consistent

 with due process to the classes, for the Court’s consideration in the near future.

        To promote judicial economy and preserve resources, the Parties respectfully request the

 Court to stay all deadlines in this matter pending submission of the motion for preliminary approval

 of the settlement agreement.

 Dated: January 31, 2023                               Respectfully submitted,

                                                       s/ Matthew S. Mulqueen

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